     Case 22-12013-mdc           Doc 5 Filed 08/01/22 Entered 08/01/22 16:33:43                      Desc Order
                                    Requiring Documents Page 1 of 1




                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

    In Re:                                             Chapter: 13
        Tarani A. Johnson
                            Debtor(s)                  Bankruptcy No: 22−12013−mdc

                                        ORDER


    AND NOW, this 1st day of August 2022 , the debtor having failed to file or submit with the
petition all of the documents required by Fed. R. Bankr. P. 1007,

  It is hereby ORDERED that:

 1. This case MAY BE DISMISSED WITHOUT FURTHER NOTICE if the documents listed
below are not filed by deadline also listed below:

               Documents and Deadline

               Certification Concerning Credit Counseling and/
               or Certificate of Credit Counseling due 8/15/2022.
               Matrix List of Creditors due 8/8/2022.
               Chapter 13 Plan due by 8/15/2022.
               Chapter 13 Statement of Your Current Monthly Income and
               Calculation of Commitment Period Form 122C−1(old)Due 8/15/2022
               Means Test Calculation Form 122C−2 −If Applicable − Due: 8/15/2022.
               Schedules AB−J due 8/15/2022.
               Statement of Financial Affairs due 8/15/2022.
               Summary of Assets and Liabilities Form B106 due 8/15/2022.

  2. Any request for an extension of time must be filed prior to the expiration of the deadlines listed
above in Paragraph 1.




                                                                                           By the Court

                                                                               Magdeline D. Coleman
                                                         Chief Judge , United States Bankruptcy Court
                                                                                                                    5
                                                                                                             Form 130
